    Case 22-51030-JPS             Doc 29 Filed 02/02/24 Entered 02/02/24 15:02:05                        Desc Notice
                                       of Claims Bar Date Page 1 of 1
                                            United States Bankruptcy Court
                                               Middle District of Georgia
                                                   433 Cherry Street
                                                     P.O. Box 1957
                                                   Macon, GA 31202
                                                         2/2/24

In Re:
Charles Michael Blizzard
98 Cotswold Dr
Forsyth, GA 31029−8180
Debtor(s)

Case Number: 22−51030−JPS

Chapter 7

             NOTICE OF NEED TO FILE PROOF OF CLAIM DUE TO RECOVERY OF ASSETS

NOTICE IS GIVEN THAT:

The initial notice in this case instructed creditors that it was not necessary to file a proof of claim. Since that notice
was sent, assets have been recovered by the trustee.

Creditors who wish to share in any distribution of funds must file a proof of claim with the clerk of the bankruptcy
court at the address below on or before 5/2/24.

Creditors who do not file a proof of claim on or before this date will not share in any distribution from the debtor's
estate.

If you are are not a registered electronic filer in this court, you may file your claim by using this court's ePOC program
available on our website. Please visit http://www.gamb.uscourts.gov/USCourts/epoc−faq for information regarding
filing a Proof of Claim with our court. You will also find this link helpful as well:
http://www.gamb.uscourts.gov/USCourts/helpful−tips.

If you do not have access to a computer and must file your Proof of Claim in paper form and if you will be mailing
your proof of claim and you wish to receive proof of its receipt by the Bankruptcy Court, please enclose a photocopy
of the proof of claim together with a stamped, self−addressed envelope. A Proof of Claim form ("Official Form
B410") can be obtained by visiting this court's website at (http://www.gamb.uscourts.gov/USCourts/forms) or by
visiting or calling any U.S. Bankruptcy Clerk's Office. Our address and phone number can be found at the top of this
notice.

There is no fee for filing the proof of claim. Any creditor who has filed a proof of claim already need not file another
proof of claim.




                                                               Kyle George, Clerk
                                                               U.S. Bankruptcy Court


                                                               By: Christina M. Fugate
                                                               Deputy Clerk
                                                               478−749−6828
